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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA,                        )
CALIFORNIA, COLORADO,                            )
CONNECTICUT, DELAWARE, DISTRICT                  )
OF COLUMBIA, FLORIDA, GEORGIA,                   )
HAWAII, ILLINOIS, INDIANA, IOWA,                 )
LOUISIANA, MARYLAND,                             )    Case No. 5:15-cv-6264-EGS
MASSACHUSETTS, MICHIGAN,                         )
MINNESOTA, MONTANA, NEVADA, NEW                  )
JERSEY, NEW MEXICO, NEW YORK,                    )
NORTH CAROLINA, OKLAHOMA, RHODE                  )
ISLAND, TENNESSEE, TEXAS, VIRGINIA,              )
WISCONSIN                                        )
                                                 )
Ex rel. CATHLEEN FORNEY                          )
                                                 )
                              Plaintiffs,        )
                                                 )
       vs.                                       )
                                                 )
MEDTRONIC, INC.,
                                                 )
                              Defendant.         )
                                                 )
   DEFENDANT MEDTRONIC, INC.’S CORPORATE DISCLOSURE STATEMENT
       Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Medtronic, Inc. hereby

discloses that its ultimate parent company is Medtronic plc. Medtronic plc is a publicly traded

company, the shares of which are traded on the New York Stock Exchange. Medtronic plc is the

only publicly held corporation that directly or indirectly owns 10% or more of Medtronic, Inc.


                                             Respectfully submitted,
                                                /s/ Katherine M. Glaser
                                             Ronni E. Fuchs
                                             Katherine M. Glaser
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                                             3000 Two Logan Square
                                             Eighteenth & Arch Streets
                                             Philadelphia, PA 19103-2799
                                             (215) 981-4000
Date: April 4, 2017                          Attorneys for Medtronic, Inc.
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                               CERTIFICATE OF SERVICE

       The foregoing document was filed electronically on April 4, 2017 and is available for

viewing and downloading via the Eastern District of Pennsylvania’s Electronic Case Filing

(“ECF”) system. The foregoing document will be sent electronically via the ECF system to the

registered participants as identified on the Notice of Electronic Filing, including the Plaintiff

States per the Court’s order of December 23, 2016 (Dkt. No. 14). I certify that on April 4, 2017,

in addition to the Notice of Electronic Case Filing automatically generated by the ECF system, I

caused the foregoing document to be served via email upon the following:

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                                                 /s/ Katherine M. Glaser
                                                 Katherine M. Glaser




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